Case 1:21-cr-00670-CJN Document 33-1 Filed 03/08/22 Page 1 of 5




                   EXHIBIT 1
       Case 1:21-cr-00670-CJN Document 33-1 Filed 03/08/22 Page 2 of 5




Discovery               Government                  Defense                  Resolution
Grand jury witness      All have been               If provided, no
testimony, exhibits,    provided. [Doc. 31 at       further action needed.
and records obtained    18]
via subpoena.
Grand jury              Grand jury secrecy          Some documents are
subpoenas, Stored       outweighs                   discoverable without
Communications Act      defendant’s need.           regard to Fed. R.
materials, and          [Doc. 31 at 18-24]          Crim P. 6(e). There is
requests supporting                                 a “presumption of
issuance. [Doc. 28 at                               access” to Stored
9]                                                  Communications Act
                                                    materials. Leopold v.
                                                    United States, 964
                                                    F.3d 1121, 1130
                                                    (D.C. Cir. 2020). For
                                                    other documents,
                                                    even if secrecy
                                                    interests are
                                                    considered, the
                                                    Protective Order will
                                                    preserve secrecy.
                                                    Particularized need is
                                                    established because
                                                    Government did not
                                                    seek USDOJ
                                                    approval when
                                                    subpoenaing attorney
                                                    records.
Grand jury              Defense has not             Protective Order will
instructions and        shown particularized        preserve secrecy.
statements by AUSA.     need, just “mere            Defense has
                        conjecture”. [Doc. 31       articulated particular
                        at 24]                      reasons justifying
                                                    need: (1) Government
                                                    has misstated law on
                                                    “willfully makes
                                                    default” in its advice
                                                    of counsel motion
                                                    and in open court,
                                                    and likely did so
                                                    before the grand jury;


                                                2
       Case 1:21-cr-00670-CJN Document 33-1 Filed 03/08/22 Page 3 of 5




                                            (2) Government
                                            presented evidence to
                                            the grand jury to the
                                            effect that Mr.
                                            Bannon did not seek
                                            adjournment, when
                                            he did (bears on
                                            “willfully makes
                                            default”); and (3)
                                            Government
                                            presented evidence to
                                            the grand jury to the
                                            effect that executive
                                            privilege can only be
                                            asserted via a direct
                                            communication from
                                            a President, which is
                                            not the law (bears on
                                            “willfully makes
                                            default”). If not cured
                                            through instructions
                                            that accurately stated
                                            the law, each of these
                                            particular facts would
                                            be grounds for
                                            dismissal of the
                                            indictment.
OLC Opinions And      Not discoverable      OLC opinions and
Similar Documents     because: (1) reliance similar documents –
Suggesting That Mr.   on the law is not a   which pertain to
Bannon Committed      defense; (2)          current and former
No Crime              documents do not      presidential advisors
                      reflect what was in   – negate guilt as to
                      Mr. Bannon’s mind;    “willfulness,” tend to
                      and (3) as a former   support established
                      federal employee,     defenses, and cast
                      such documents do     doubt on government
                      not apply to Mr.      evidence. Thus, they
                      Bannon. [Doc. 31 at 8 must be disclosed
                      – 10]                 under the explicit
                                            requirements of Local
                                            R. Crim. P. 5.1(b).
Documents Showing     All documents         It is an element of the
That Subpoena Was     obtained from         offense that the
Invalid               Congress so far have subpoena be lawfully
                      been provided. Select authorized, in

                                           3
      Case 1:21-cr-00670-CJN Document 33-1 Filed 03/08/22 Page 4 of 5




                     Committee files        accordance with the
                     beyond what they       rules of the House of
                     provided are off-      Representatives, so
                     limits as outside our  any information that
                     control. Select        is inconsistent with
                     Committee Members      Mr. Bannon’s guilt as
                     and staff are just     to this element, or
                     complainants. [Doc.    any information that
                     31 at 17]              casts doubt on the
                                            accuracy of any
                                            evidence, must be
                                            disclosed pursuant to
                                            Local R. Crim. P.
                                            5.1(b)(1) and (4). In
                                            addition, Select
                                            Committee members
                                            and staff are not mere
                                            complainants – they
                                            set in motion the
                                            criminal prosecution
                                            in a way that ordinary
                                            witnesses cannot. See
                                            2 U.S.C. § 194
                                            (committee reports
                                            “facts” – after vote it
                                            “shall” be the duty of
                                            the Speaker to certify
                                            and “shall” be the
                                            duty of the U.S.
                                            Attorney “to bring
                                            the matter before the
                                            grand jury.” Thus, the
                                            Select Committee
                                            cannot limit the “data
                                            set” available for
                                            preparing a defense
                                            to criminal charges.
Documents            We will provide bias See above. The local
Reflecting Bias      information only for   rule mandates
Against Mr. Bannon   Government trial       disclosure of
                     witnesses. [Doc. 31 at information that is
                     15 to 17]              inconsistent with
                                            guilt, supports a
                                            defense theory, or
                                            casts doubts on the
                                            credibility or

                                             4
       Case 1:21-cr-00670-CJN Document 33-1 Filed 03/08/22 Page 5 of 5




                                                accuracy of any
                                                evidence (not just
                                                Government witness
                                                testimony). Just
                                                providing Giglio
                                                information for trial
                                                witnesses does not
                                                meet the
                                                Government’s
                                                obligation.
Documents             Defendant has not         We are not seeking
Reflecting An         met its burden to         discovery under the
Improper Purpose In   obtain selective          theory of selective
Prosecuting Mr.       prosecution               prosecution at this
Bannon                discovery. [Doc. 31       stage. Instead, we
                      at 28].                   seek all information
                                                that suggests that
                                                political
                                                considerations played
                                                an impermissible role
                                                in this prosecution.
                                                The Government
                                                must disclose such
                                                information pursuant
                                                to Local R. Crim. P.
                                                5.1(b)(3) (tends to
                                                establish a defense
                                                theory) and (4) (casts
                                                doubts on the
                                                credibility or
                                                accuracy of any
                                                evidence).




                                            5
